Case 1:18-cv-01773-RDI\/| Document 6 Filed 07/31/18 Page 1 of 4

28 USC 1608 Summons
12/1 l

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

HPK Management D.0.0. and HPK Engineering B.V.
Plaintijj”

 

V.

Civil Action No. 18-1773 (RDN|)
Repub|ic of Serbia and Zelezara Smederevo D.0.0.

Defendant

 

SUMMONS IN A CIVIL ACTION

TOZ (Defendant’s name and address) _ _
Repub|ic of Serbia

Ministry of Justice of the Repub|ic of Serbia

Sector for international legal assistance

Department for international legal assistance in civil matters
Nemanjina 22/26 Str.

11000 Be|grade, Repub|ic of Serbia

A lawsuit has been filed against you.

Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of

Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’ s attomey, whose name and

address are: Andreas A. Frischknecht

Chaffetz Lindsey LLP

1700 Broadway, 33rd F|oor
New York, New York 10019
Telephone: (212) 257-6960

If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

7/31/2018

Date: /s/ Sherryl Horn

 

Signature ofClerk or Deputy Clerk

 

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23 usc 1608 summons (12/11) (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThlS SuII]mOl'lS fOI` (name of individual and title, ifany)

 

was received by me on (date)

 

l:l l personally served the summons on the individual at @)lace)

 

 

on (dare) ; or

l:l l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

l:l l served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of orgam'zatian)

 

 

 

on (dare) ; or
l:l l returned the summons unexecuted because ; or
ij O'[.ller (specifv):
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

 

Ser'ver ’s address

Additional information regarding attempted service, etc:

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28 USC 1608 Summons
12/1 l

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

HPK Management D.0.0. and HPK Engineering B.V.
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civil Action No_ 1:18-cv-01773 (RDN|)
Repub|ic of Serbia and Ze|ezara Smederevo D.0.0.

Defendant

 

SUMMONS IN A CIVIL ACTION

TOZ (Defendant’s name and address) .,
Ze|ezara Smederevo D.0.0.

6 |z|etnicka Street
11300 Smederevo
Repub|ic of Serbia

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23 usc 1608 summons (12/11) (Page 2)

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Server ’s signature

 

Printed name and title

 

Server ’s address

Additional information regarding attempted service, etc:

